Case 2:15-cr-20007-LJM-DRG ECF No. 294, PageID.4332 Filed 12/04/18 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

         Plaintiff,                                  Case No. 15-20007
                                                     Honorable Laurie J. Michelson
 v.

 KANEE GOODE,

         Defendant.


             ORDER GRANTING GOVERNMENT’S MOTION TO WAIVE
                    ATTORNEY/CLIENT PRIVILEGE [293]


       On May 7, 2018, Kanee Goode filed a pro se motion to vacate her sentence under 28 U.S.C.

§ 2255. (ECF No. 280.) She claims defense counsel was constitutionally ineffective in numerous

respects, including that “counsel failed to file a notice of appeal after sentencing.” (Id.) The Court

ordered the government to file a response (ECF No. 283), the government did so (ECF No. 287),

and the Court ordered an evidentiary hearing limited to the issue of whether Goode’s trial counsel

ignored Goode’s instruction to file a notice of appeal (ECF No. 289). Now, the government has

filed a motion asking to waive attorney-client privilege so that the government can interview

Goode’s counsel about the ineffective assistance of counsel claim she raises. (ECF No. 293.)

       “To be sure, litigants cannot hide behind the [attorney-client] privilege if they are relying

upon privileged communications to make their case.” In re Lott, 424 F.3d 446, 454 (6th Cir. 2005).

Thus, the attorney-client privilege “may be implicitly waived by claiming ineffective assistance of

counsel or by otherwise raising issues regarding counsel’s performance.” Id. at 452–53. But

“[i]mplied waivers are consistently construed narrowly,” and “[c]ourts must impose a waiver no

broader than needed to ensure the fairness of the proceedings before it.” Id. at 453 (internal
Case 2:15-cr-20007-LJM-DRG ECF No. 294, PageID.4333 Filed 12/04/18 Page 2 of 2




quotation marks and citations omitted). Thus, “the waiver in habeas cases should be limited to the

extent necessary to litigate a petitioner’s ineffective assistance of counsel claims.” Id. at 454

(quoting Mason v. Mitchell, 293 F.Supp. 2d 819, 823–24 (N.D. Ohio 2003).

       Here, the government asks to waive Goode’s attorney-client privilege, “so that the

government can conduct an interview of trial counsel and obtain any necessary information . . .

limited to the issues presented in claim One of the § 2255 petition.” (ECF No. 293, PageID.4328.)

The Court finds that the government’s request is necessary to litigate Goode’s ineffective

assistance of counsel claim and that this narrow waiver is no broader than necessary.

       Accordingly, IT IS HEREBY ORDERED that the government’s motion to have the court

waive the attorney/client privilege is GRANTED to the extent that the government will be

permitted to question Goode’s counsel limited to the issues of effective assistance of counsel raised

in Goode’s § 2255 petition.

       SO ORDERED.

                                              s/Laurie J. Michelson
                                              LAURIE J. MICHELSON
                                              UNITED STATES DISTRICT JUDGE


Date: December 4, 2018


                                      CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served upon counsel of record
and/or pro se parties on this date, December 4, 2018, using the Electronic Court Filing system
and/or first-class U.S. mail.


                                              s/William Barkholz
                                              Case Manager




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